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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      No. 1:21-cr-00044-CJN
       v.                                    :
                                             :
DANIEL D. PHIPPS,                            :
                                             :
               Defendant.                    :

                 PARTIES’ JOINT PROPOSED SCHEUDLING AORDER

       The United States of America, by and through the United States Attorney for the District

of Columbia, and defendant Daniel D. Phipps, by and through his counsel of record, and as

required by the Court’s February 8, 2023 Order issued from the bench, hereby submit a proposed

joint scheduling order, which is attached.

                                      Respectfully submitted,

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